               IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         BRYSON CITY DIVISION
                     Civil Case No. 2:12-cv-00026-MR
                 [Criminal Case No. 2:00-cr-00018-MR-2]


EDDIE DEWAYNE CARRINGER, )
                          )
         Petitioner,      )
                          )
    v.                    )                        ORDER
                          )
UNITED STATES OF AMERICA, )
                          )
         Respondent.      )
                          )

       THIS MATTER is before the Court on an initial review of Petitioner’s

Motion to Vacate, Set Aside or Correct Sentence, filed pursuant to 28

U.S.C. § 2255 [Doc. 1]. Also before the Court is Petitioner’s “Motion for

Counsel Pursuant to May 22, 2012 Standing Order” [Doc. 2] and appointed

counsel’s Motion to Withdraw Appearance [Doc. 4]. For the reasons that

follow, Petitioner’s Section 2255 motion will be dismissed; his motion to

appoint counsel will be denied as moot; and counsel’s motion to withdraw

will be allowed.

I.     BACKGROUND

       On July 6, 2001, Petitioner’s criminal judgment was entered following

his guilty pleas to one count of assault, resist, or impede certain officers or



     Case 2:00-cr-00018-MR-WCM   Document 112    Filed 03/06/13   Page 1 of 6
employees and aiding and abetting the same, in violation of 18 U.S.C. §§

111 & 2 (Count Two); and one count of the use, carry and discharge of a

firearm during and in relation to a crime of violence and aiding and abetting

the same, in violation of 18 U.S.C. §§ 924(c) & 2 (Count Three). Petitioner

was sentenced to a term of 100 months’ imprisonment on Count Two, and

a term of 120 months’ imprisonment on Count Three with those terms to

run consecutively, for a total term of incarceration of 220 months. [Criminal

Case No. 2:00-cr-00018-MR-2, Doc. 84: Judgment in a Criminal Case].

Petitioner did not file a direct appeal.

      On June 2, 2008, nearly seven years after his criminal judgment

became final, Petitioner filed a Section 2255 motion, which the Court

dismissed as being untimely under § 2255(f)(1)-(4). [Civil Case No. 2:08-

cv-00015-MR, Docs. 1, 2]. Petitioner moved the Court to reconsider its

Order, which the Court denied. [Id., Docs. 3, 4]. Petitioner then filed a

notice of appeal to the United States Court of Appeals for the Fourth

Circuit. On December 16, 2008, the Fourth Circuit denied a certificate of

appealability and dismissed his appeal. United States v. Carringer, 303 F.

App’x 151 (4th Cir. 2008).




                                       2
   Case 2:00-cr-00018-MR-WCM       Document 112   Filed 03/06/13   Page 2 of 6
        On February 14, 2012, Petitioner filed the present Section 2255

motion challenging his criminal judgment.1 In this motion, Petitioner

contends that he is entitled to relief based on the Fourth Circuit’s opinion in

United States v. Simmons, 649 F.3d 237 (4th Cir. 2011) (en banc), and the

Supreme Court’s opinion in Carachuri-Rosendo v. Holder, __ U.S.                  , 130

S.Ct. 2577, 177 L.Ed.2d 68 (2010). [Civil Case No. 2:12-cv-00026-MR,

Doc. 1-1 at 4-6].

II.     STANDARD OF REVIEW

        Pursuant to Rule 4(b) of the Rules Governing Section 2255

Proceedings, sentencing courts are directed to promptly examine motions

to vacate, along with “any attached exhibits and the record of prior

proceedings” in order to determine whether a petitioner is entitled to any

relief. The Court has considered the record in this matter and applicable

authority and concludes that this matter can be resolved without an

evidentiary hearing. See Raines v. United States, 423 F.2d 526, 529 (4th

Cir. 1970).2


1
  The docket sheet reflects that the petition was filed on February 21, 2012; however,
the Fourth Circuit directed that the date of filing be the date Petitioner signed the
Petition, which was February 14, 2012. [Civil Case No. 2:08-cv-00015, Doc. 14: Order
granting writ of mandamus and directing Clerk’s Office to file Petitioner’s § 2255
Motion].
2
 On May 22, 2012, this Court appointed the Federal Defenders of Western North
Carolina, Inc. to determine whether petitioners sentenced in the Western District may be


                                         3
      Case 2:00-cr-00018-MR-WCM      Document 112      Filed 03/06/13   Page 3 of 6
III.     DISCUSSION

         The Antiterrorism and Effective Death Penalty Act (“AEDPA”)

provides, in relevant part, that “[a] second or successive motion [under

Section 2255] must be certified as provided in Section 2244 by a panel of

the appropriate court of appeals to contain—


              (1) newly discovered evidence that, if proven and
              viewed in light of the   evidence as a whole, would
              be sufficient to establish by clear and convincing
              evidence that no reasonable factfinder would have
              found the movant guilty of the offense; or

              (2) a new rule of constitutional law, made retroactive
              to cases on collateral review by the Supreme Court,
              that was previously unavailable.

28 U.S.C. § 2255(h).

         The present Section 2255 motion is attacking the same criminal

judgment which Petitioner challenged through his first Section 2255 motion.

Petitioner has provided no evidence that he has secured authorization from

the Fourth Circuit to file a successive § 2255 motion; therefore, this Court is

without jurisdiction to consider the merits of the present Section 2255

motion and it will be dismissed. See United States v. Winestock, 340 F.3d

200, 205 (4th Cir. 2003).


entitled to relief under Simmons. Appointed counsel has conducted a review and
concluded that the present Petitioner is not entitled to relief and seeks to withdraw from
the case. [Civil Case No. 2:12-cv-00026-MR, Doc. 4]. For cause shown, the motion to
withdraw will be allowed.


                                          4
       Case 2:00-cr-00018-MR-WCM      Document 112      Filed 03/06/13    Page 4 of 6
        Pursuant to Rule 11(a) of the Rules Governing Section 2255 Cases,

the Court declines to issue a certificate of appealability as Petitioner has

not made a substantial showing of a denial of a constitutional right. 28

U.S.C. § 2253(c)(2); Miller–El v. Cockrell, 537 U.S. 322, 336-38, 123 S.Ct.

1029, 154 L.Ed.2d 931 (2003) (in order to satisfy § 2253(c), a petitioner

must demonstrate that reasonable jurists would find the district court's

assessment of the constitutional claims debatable or wrong); Slack v.

McDaniel, 529 U.S. 473, 484, 120 S.Ct. 1595, 146 L.Ed.2d 542 (2000)

(holding that when relief is denied on procedural grounds, a petitioner must

establish both that the correctness of the dispositive procedural ruling is

debatable, and that the petition states a debatably valid claim of the denial

of a constitutional right).

IV.     CONCLUSION

        IT IS, THEREFORE, ORDERED that Petitioner’s Section 2255

Motion [Civil Case No. 2:12-cv-00026-MR, Doc. 1] is DISMISSED as

successive.

        IT IS FURTHER ORDERED that Petitioner’s “Motion for Counsel

Pursuant to May 22, 2012 Standing Order” [Doc. 2] is DISMISSED as

moot.

        IT IS FURTHER ORDERED that counsel’s Motion to Withdraw



                                      5
      Case 2:00-cr-00018-MR-WCM   Document 112   Filed 03/06/13   Page 5 of 6
Appearance [Doc. 4] is ALLOWED.

      IT IS FURTHER ORDERED that pursuant to Rule 11(a) of the Rules

Governing Section 2255 Cases, the Court declines to issue a certificate of

appealability.

      IT IS SO ORDERED.          Signed: March 5, 2013




                                   6
   Case 2:00-cr-00018-MR-WCM   Document 112              Filed 03/06/13   Page 6 of 6
